
*1227OPINION.
MaRqhette:
The evidence herein shows that on April 10, 1920, John A. Hicks transferred to his two sons certain shares of the capital stock of the John A. Hicks Co., and that subsequently upon the-dissolution of that company they participated in its assets in proportion to their stockholdings. But John A. Hicks did not convey to the sons any direct interest in the corporate assets; he gave them only shares of stock which entitled them to share in the earnings of the corporation, and upon dissolution, to aliquot shares in its assets after the payment of its debts. We are therefore unable to perceive upon what theory the respondent included in the gross estate of John A. Hicks, any part of the assets of the corporation which the sons received in liquidation. If there was anything to be included in the estate on account of the transfers involved herein, it was the value of the thing transferred, to wit, 158 shares of the capital stock of the *1228John A. Hicks Co. However, it is clear that the transfer was absolute and in praesenti and that there was no interest in or control over the stock reserved to the grantor. It is also clear, we think, that the transfers were not made by John A. Hicks in contemplation of death. There is not only no evidence to indicate that on April 10,1920, John A. Hicks believed or had any reason to believe he would die in the reasonably near future, but on the other hand the evidence shows that he was in good health at that time and that he made the transfer pursuant to an intention he had formed and expressed several years before, to give to his sons an interest in the corporation, in the affairs of which they had long taken an active part.
Judgment will be entered on 15 days' notice, under Rule 50.
